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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   4     JOHN JANOSKO, et al.,                               Case No. 3:23-cv-00035-WHO
                                                        Plaintiffs,
                                   5
                                                                                             ORDER MAINTAINING TEMPORARY
                                                  v.                                         RESTRAINING ORDER
                                   6

                                   7     CITY OF OAKLAND,                                    Re: Dkt. Nos. 18, 28, 29
                                                        Defendant.
                                   8

                                   9          I previously entered a Temporary Restraining Order (“TRO”) in this case, prohibiting

                                  10   defendant City of Oakland from closing the homeless encampment at 1707 Wood Street (“1707

                                  11   Encampment”). [Dkt. No. 18]. Subsequently, I issued an Order Dissolving the TRO, explaining

                                  12   that the balance of equities no longer favored the plaintiffs because, in part, the City represented it
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                                  13   would have adequate shelter beds for the plaintiffs, including at the new cabin community. [Dkt.

                                  14   No. 28]. I stated the TRO would dissolve on February 10, 2023, at 8:00 a.m. Id. I conditioned

                                  15   the dissolution “on the representations made by the City’s counsel in the papers and at the hearing,

                                  16   including that the cabin site will be open and ready for residents, with a final living agreement, on

                                  17   February 6.” Id. (emphasis added).

                                  18          The plaintiffs now represent that the cabin site is still not available for move-in. [Dkt. No.

                                  19   29]. Because the condition for dissolution is not met, the TRO remains in place. The City shall

                                  20   not proceed with posting notices or beginning the closure of the 1707 Encampment until the

                                  21   conditions from my prior Order are met. When the City attests that the cabins are open and the

                                  22   other conditions are met, the TRO can be lifted.

                                  23          IT IS SO ORDERED.

                                  24   Dated: February 10, 2023

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                                                                                                     William H. Orrick
                                  27                                                                 United States District Judge
                                  28
